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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
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15
     JOHN DOE,                                Case No. 2:21-cv-02803-RGK(MARx)
16
                 Plaintiff,                   DEFENDANTS UNITED STATES OF
17                                            AMERICA, TRACY L. WILKISON
                      v.                      (OFFICIAL CAPACITY) AND KRISTI
18                                            KOONS JOHNSON (OFFICIAL
     UNITED STATES OF AMERICA,                CAPACITY)’S REPLY MEMORANDUM OF
19   TRACY L. WILKISON (OFFICIAL              POINTS AND AUTHORITIES IN SUPPORT
     CAPACITY), KRISTI KOONS JOHNSON          OF MOTION TO DISMISS THE COMPLAINT
20   (OFFICIAL CAPACITY),                     FOR LACK OF SUBJECT MATTER
                                              JURISDICTION AND FAILURE TO STATE
21               Defendants.                  A CLAIM UPON WHICH RELIEF CAN BE
                                              GRANTED PURSUANT TO FED. R. CIV.
22                                            P. 12(b)(1) AND 12(b)(6) AND
                                              DECLARATIONS OF STEPHEN J. JOBE
23                                            AND AUSA VICTOR A. RODGERS

24                                            Date:      July 6, 2021
                                              Time:      9:00 a.m.
25                                            Courtroom: 850, the Honorable
                                                         R. Gary Klausner
26

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1
                      MEMORANDUM OF POINTS AND AUTHORITIES
2
     I.    INTRODUCTION.
3
           Defendants United States of America, Tracy L. Wilkison and
4
     Kristi Koons Johnson (collectively, “the government”) respectfully
5
     submit this reply memorandum of points and authorities in further
6
     support of their motion pursuant to Fed. R. Civ. P. 12(b)(1) and (6)
7
     to dismiss the complaint for lack of subject matter jurisdiction and
8
     failure to state a claim upon which relief can be granted.
9
     Plaintiff’s opposition does not overcome the reasons set forth in the
10
     government’s moving papers that warrant that his action be dismissed.
11
     II.   PLAINTIFF HAS NOT SHOWN THAT EQUITABLE JURISDICTION EXISTS HERE.
12
           Plaintiff’s opposition ignores the government’s cases holding
13
     that (i) the burden of establishing subject matter jurisdiction rests
14
     on the party seeking to invoke it and the presumption is that courts
15
     lack subject matter jurisdiction (moving papers 5:10-19); (ii) a
16
     factual attack on subject matter jurisdiction does not require a
17
     court to accept a complaint’s allegations as true, but rather permits
18
     courts to weigh extrinsic evidence in deciding whether a plaintiff
19
     has discharged his burden (id. at 5:25-6:7); and (iii) Fed. R. Crim.
20
     P. 41(g) (“Rule 41(g)”) motions invoke the Court’s equitable/subject
21
     matter jurisdiction for which relief is unavailable where an adequate
22
     remedy at law exists (moving papers 7:3-6 and 7:19-8:5).
23
           Similarly, plaintiff does not discuss or refute the government’s
24
     cases holding that the commencement of administrative forfeiture
25
     proceedings provides plaintiff with an adequate remedy at law, which
26
     has been the rule consistently followed for over 30 years in this
27
     Circuit as well as other Circuits since the decision in United States
28

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1    v. Elias, 921 F.2d 870 (9th Cir. 1990) (moving papers 8:6-11:3 and

2    11:24-29 n.3), or the cases dismissing Rule 41(g) motions on the

3    ground that forfeiture proceedings provide an adequate remedy at law

4    to raise any claim, like plaintiff’s claim here, that the seizure

5    violated the Fourth and Fifth Amendments.       Id. at 11:4-12:15.

6         Rather than dispute these points, plaintiff instead argues at

7    length about the May 20 and 21, 2021 pre-filing conferences of

8    counsel regarding these motions, but plaintiff’s counsel is simply

9    wrong regarding the reasons the conference had to occur then. 1        And
10   plaintiff’s arguments on the merits, in addition to ignoring the
11   government’s cases, are both factually and legally incorrect.
12        Plaintiff argues that the FBI’s administrative forfeiture

13   proceeding has terminated because USPV submitted a claim on June 11,

14   2021 for all the seized property.     However, merely submitting a claim

15   does not terminate the proceeding, as upon receipt of a claim, the

16   FBI replies with an email advising “[s]uccessful filing of your claim

17   does not ensure your claim is valid.”      Rodgers Decl. Ex. A.     Once a

18   seizing agency (like the FBI) receives a valid claim to contest the

19
          1 The same law firm served at different times the four virtually
20   identical complaints involved here. The government saw no reason to
     file four separate motions at different times with separate hearing
21   dates depending upon the individual case response deadlines. Under
     Fed. R. Civ. P. 12(a)(2), the government’s response to a complaint is
22   due 60 days after service, and the first due date (the John Doe case
     that involved currency situated in his box) was Friday, May 28
23   because the 60th day fell on the Monday, May 31 Memorial Day holiday,
     meaning that a pre-filing conference of counsel had to occur by May
24   21, or 7 days before the May 28 filing deadline, as required under
     Local Rule 7-3 (see docket nos. 18-21 in Doe v. United States of
25   America, et al., Case No. 2:21-cv-02803 (proofs of service), and the
     forfeiture notices were not sent until May 20. In addition, the
26   government moved ex parte in the Coe case, because Coe filed a motion
     for the return of property on May 5, 2021 (docket no. 25) and set a
27   hearing date requiring an opposition in 7 days because plaintiff’s
     counsel declined to accept as controlling the Ninth Circuit
28   authorities the government provided showing that the motion was
     subject to a 60-day and not a 7-day response date.
                                        2
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1    administrative forfeiture of an asset, the seizing agency suspends

2    the administrative forfeiture proceeding as to the asset (28 C.F.R.

3    § 8.10(e)), cannot forfeit the asset by issuing a “declaration of

4    administrative forfeiture,” which is the equivalent of a court

5    judgment of forfeiture in a judicial case (28 C.F.R. § 8.12) and must

6    refer the matter to the USAO (28 C.F.R. § 8.10(e)), and the

7    government must release the property if the USAO does not file a

8    judicial forfeiture complaint within 90 days after the seizing agency

9    received the claim (18 U.S.C. § 983(a)(3)(A) & (B)).
10        But where an otherwise timely claim is invalid because it does

11   not meet the requirements for a valid claim set forth in 28 C.F.R.

12   § 8.10(b), the seizing agency may notify the submitter of this fact

13   and allow the submitter a reasonable time to cure the defect.          28

14   C.F.R. § 8.10(g); Jobe Decl. ¶ 5.     The USPV claim is invalid because

15   a claim must “[b]e made under oath by the claimant, not counsel for

16   the claimant, and recite that it is made under penalty of perjury,

17   consistent with the requirements of 28 U.S.C. 1746.”        28 C.F.R.

18   § 8.10(b)(3) (emphasis added); Jobe Decl. ¶ 4.       The USPV claim is

19   signed by USPV’s attorney (Michael Singer, Esq.), not USPV itself.

20   See Docket 28-3 (Gluck Decl. Ex. B [USPV claim--see page 2 of 24

21   identifying Michael Singer as attorney and page 5 of 24 reflecting

22   that attorney Michael Singer signed the claim]).

23        Similarly unavailing is plaintiff’s argument regarding the

24   validity of the claim he has submitted using a pseudonym.         In

25   opposing one of the multiple TROs in this matter that required a

26   response in 24 hours, the government made confusing arguments, and

27   sincerely apologizes for doing so, with regard to the laws and

28   regulations governing the required contents of an administrative

                                           3
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1    claim.   The government’s confusing argument may have caused the Court

2    to conclude, as plaintiff’s assert (oppo. at 10:22-25 n.2), that the

3    government had not cited any statute or regulation requiring

4    claimants in an administrative forfeiture proceeding to identify

5    themselves by their legal names.     In fact, however, the regulations

6    do contain this requirement.

7         A person “must file a claim with the appropriate official” (28

8    C.F.R. § 8.10(a)), which is “the Unit Chief, Legal Forfeiture Unit,

9    Office of the General Counsel, FBI” (28 C.F.R. § 8.2 [Definitions]
10   and whose declaration (Stephen J. Jobe) is submitted herewith, to
11   compel the seizing agency to refer the matter to the USAO, and
12   require the USAO to, within 90 days, either file a judicial
13   forfeiture action or release the property (as mentioned above).          As
14   to the contents of the claim submitted to the seizing agency, the
15   regulations provide that “[a] claim shall (1) identify the specific
16   property being claimed; [and] identify the claimant and state the
17   claimant’s interest in the property.”      28 C.F.R. 8.10(b)(1) & (2)

18   (emphasis added); Jobe Decl. ¶ 4.     This regulation, unlike 18 U.S.C.

19   § 983(a)(2)(A)-(C) which also pertains to claims submitted in

20   administrative forfeiture proceedings, makes clear that that the

21   administrative claim must identify the claimant.        Id.   Accordingly,

22   plaintiff’s claim using a pseudonym 2 is also invalid.

23        Plaintiff’s claim that the administrative proceedings have ended

24   and therefore jurisdiction lies is thus wrong.       In fact, even if a

25

26
          2 See also Supplemental Rule G(5)(a)(i)(B) of the Supplemental
27   Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
     which similarly provides that claims filed in judicial forfeiture
28   proceedings must “identify the claimant and state the claimant’s
     interest in the property.”
                                        4
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1    valid claim had been submitted, plaintiff’s argument would still fail

2    because 90 days have not elapsed since the claim submission date.

3         Once the seizing agency receives a claim, the USAO is given 90

4    days under 18 U.S.C. § 983(a)(3)(A) & (B) to file a judicial

5    forfeiture action.    As the court noted in United States v. 2nd

6    Amendment Guns, LLC, 917 F. Supp. 2d 1120 (D. Or. 2012), cited at

7    moving papers 12:1-5, in denying a Rule 41(g) motion because

8    administrative forfeiture proceedings had been commenced, it made no

9    difference that claimant had submitted a claim and the government had
10   not yet filed a judicial forfeiture action, because Congress has
11   given the government 90 days pursuant to 18 U.S.C. § 983(a)(3)(A) &
12   (B) to decide how to proceed: by either filing a judicial complaint
13   or releasing the property.     Id. at 1122.    Further, if a claimant
14   asserts he has an immediate need for property, the claimant still has

15   an adequate remedy at law because he may seek immediate return of the

16   property by filing a hardship petition pursuant to 18 U.S.C.

17   § 983(f).   2nd Amendment Guns, LLC, 917 F. Supp. 2d at 1122.

18        Plaintiff’s remaining arguments are equally unpersuasive.

19   According to counsel’s conclusory, hearsay and inadmissible

20   declaration, each plaintiff seeks the return of property not listed

21   on the USPV forfeiture notice, and suggests that such a conclusory

22   allegation should suffice.     Oppo. 14:22-25.    To be clear, plaintiff

23   makes this argument in conjunction with his refusal to disclose to

24   the government either the specific property he seeks to have returned

25   (in a case seeking the return of property) or his identity.

26   Plaintiff’s argument should be soundly rejected.

27        Coe’s complaint identifies his box number and “currency” as the

28   box’s contents, the other plaintiffs’ complaints identify the items

                                           5
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1    they seek to have returned as “non-contraband valuable property”

2    (moving papers 2:13-18), while counsel further averred that Doe

3    “keeps valuables in his boxes, including jewelry, currency, coins,

4    and bullion” (Docket 7-1 in Doe v. United States, 2:21-cv-0283 [Gluck

5    Decl. ¶ 2]), which description suggests that Doe’s boxes do include

6    items within the forfeiture proceedings despite his claim otherwise.

7         But the information plaintiff refuses to disclose, i.e., his

8    identity, the specific items he seeks to have returned or, with the

9    exception of Coe, his box number lies at the very core of plaintiff’s
10   action; plaintiff’s failure to provide it places the government in an
11   extreme litigation disadvantage.      The government is returning items
12   in boxes that are not included in the forfeiture proceedings because
13   they are not within the USPV May 20, 2021 forfeiture notice letter,
14   but needs to know the identity of the boxholder to make sure the
15   items are returned to the rightful owner.       As to boxes within the
16   forfeiture proceeding, the government has the right to retain
17   documents or any other items situated therein as evidence. 3        Further,

18   plaintiff has an adequate remedy at law as to documents (which he

19   claims may be in the boxes but in any event are never the subject of

20   asset forfeiture proceedings) because he can serve a document request

21   in a judicial forfeiture action to obtain them.

22        And merely alleging that some of counsel’s clients believe

23   property has been stolen, does not make it so, nor does it confer

24
          3 Ramsden v. United States, 2 F.3d 322, 326 (9th Cir. 1993)
25   (“[t]he United States’ retention of the property generally is
     reasonable if it has a need for the property in an investigation or
26   prosecution”); United States v. Mills, 991 F.2d 609, 612 (9th Cir.
     1993) (internal quotation marks and citation omitted) (“[g]enerally,
27   a Rule 41(g) motion is properly denied if the defendant is not
     entitled to lawful possession of the seized property, the property is
28   contraband or subject to forfeiture or the government’s need for the
     property as evidence continues”)(citation omitted).
                                        6
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1    equitable jurisdiction.    Indeed, should plaintiff wish to pursue that

2    argument, he has filed a complaint that as a matter of law would not

3    confer subject matter jurisdiction over his action. 4

4         Finally, plaintiff’s authorities do not support his position.

5    Relying on a footnote in Ladele v. United States, 2010 WL 476957, *3

6    n.25 (C.D. Cal. Feb. 2, 2010), plaintiff argues that conclusory

7    allegations of items not included within the USPV forfeiture notice

8    precludes dismissal, but Ladele involved a completed (and not like

9    here a commenced) administrative proceedings and did not involve an
10   asset forfeiture proceeding but instead the U.S. Postal Inspection
11   Service’s different administrative abandonment statutes, regulations
12   and proceedings pertaining to items stolen from the mail and governed
13

14        4 Plaintiff’s complaint is silent on the issue of stolen assets.
     Indeed, while any such claim for the loss of property must base
15   subject matter jurisdiction on 28 U.S.C. § 1346(b), which is the
     statute establishing jurisdiction on claims against the government
16   for monetary damages arising from the loss of property under 28
     U.S.C. § 2671 et seq. (the Federal Torts Claims Act [the “FTCA”]),
17   paragraph 2 of plaintiff’s complaint plainly relies on 28 U.S.C.
     § 1331 (not 28 U.S.C. § 1346(b)) for subject matter jurisdiction.
18   Actions for monetary damages against the government cannot proceed
     without an explicit waiver of sovereign immunity. United States v.
19   Mitchell, 445 U.S. 535 (1980).
20        Further, in order to establish subject matter jurisdiction for a
     FTCA claim, plaintiff’s complaint must allege he has exhausted his
21   administrative remedies, by sending his stolen property claim to an
     administrative agency and proof that the agency denied his claim,
22   which has not occurred here and is a jurisdictional prerequisite for
     filing suit under the FTCA for monetary damages against the
23   government; without that allegation, a complaint is properly
     dismissed for lack of subject matter jurisdiction. 28 U.S.C. §§ 2672
24   and 2675(a); Blair v. IRS, 304 F.3d 861, 864-65 (9th Cir. 2002);
     Gillespie v. Civiletti, 629 F.2d 637, 640 (9th Cir. 1980). Moreover,
25   plaintiff’s claim under the FTCA would be barred in any event under
     the principle of sovereign immunity because the FBI obtained custody
26   of the box contents while following their written inventory policies
     and the box contents therefore were not seized solely for the purpose
27   of forfeiture. Foster v. United States, 522 F.3d 1071, 1079 (9th
     Cir. 2008).
28

                                           7
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1    by 39 C.F.R. Part 946 (which includes 39 C.F.R. §§ 946.1 and 946.2

2    that describe those proceedings) (see Ladele at *2, citing 39 C.F.R.

3    § 946.9). 5   Plaintiff’s other cases are similarly wide-of-the-mark. 6

4    III. PLAINTIFF SHOULD NOT BE ALLOWED TO PROCEED USING A PSEUDONYM.

5         Plaintiff has not discussed the government’s cases showing he

6    should not be allowed to proceed in this case using a pseudonym.

7    Instead, plaintiff argues only that he is entitled to do so because

8    discovery has not begun, but that argument ignores that the

9    government has been prejudiced, as set forth in its moving papers,
10   because it cannot offer irrefutable proof that the boxes (except for
11   Coe who has identified his) plaintiff seeks to have returned are
12   included within the forfeiture proceeding and the government cannot
13   complete its process of returning items to boxholders whose boxes are
14   not included in the forfeiture proceeding.       Moving papers 14:8-28.
15        Plaintiff argues he was well within his rights to “commence”
16   this action using a pseudonym (oppo. 15:2-3), but the issue is
17

18        5 In addition, the Ladele footnote refers to United States v.
     Ritchie, 342 F.3d 903, 907 (9th Cir. 2003) and United States v.
19   Clagett, 3 F.3d 1355 (9th Cir. 1993), both of which dealt with
     equitable jurisdiction to hear lack of proper notice of the
20   administrative forfeiture proceedings claims, where a party’s
     property had been forfeited in the completed administrative
21   forfeiture proceedings without notice. Those cases do not hold that
     property beyond that adjudicated in forfeiture proceedings (such as
22   allegedly stolen property) is properly the subject of a Rule 41(g)
     motion.
23
          6 Serrano v. Customs and Border Patrol, U.S. Customs and Border
24   Protection, 975 F.3d 488, 495 (5th Cir. 2020) (Fifth Circuit affirmed
     the district court’s dismissal of Rule 41(g) motion in its entirety,
25   which included both the contested due process and Rule 41(g) class
     claims and the same individual claims plaintiff conceded because
26   plaintiff’s property had been returned to him); U.S. v. Bluitt, 815
     F. Supp. 1314 (N.D. Cal. 1992) (attorney had no adequate remedy at
27   law because the attorney needed seized funds to defend his client
     and, without them, would be forced to withdraw and deprive client of
28   the client’s Sixth Amendment right to counsel of his choice in the
     criminal action).
                                        8
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1    whether he can proceed in this action at this time without revealing

2    his identity to the government (see docket no. 17 in Doe, 2:21-cv-

3    0283 (April 6, 2021 civil minutes at 5 n.3).        Again, as the

4    government previously discussed, plaintiff seeks total anonymity,

5    which is extremely rare, so that his identity is not even revealed to

6    the government.   Moving papers 12:28-13:5.      Plaintiff offers no

7    genuine support for his argument because his cases are

8    distinguishable as they involve litigation (typically at the TRO

9    stage) regarding whether a law is constitutional on its face, which
10   does not require knowledge of the identity of a particular plaintiff
11   or distinct facts and circumstances regarding that person. 7        Here, by

12   contrast, each plaintiff’s case raises different issues, including

13   distinct assets, facts and circumstances regarding the forfeitability

14   of their property.

15        Finally, plaintiff’s Fifth Amendment arguments ignore that

16   requiring a person to submit a claim does not constitute a Fifth

17   Amendment violation.    United States v. Yeager, 120 F.3d 264 (4th Cir.

18   1997) (“[a]ppellants’ argument that they were exercising their rights

19   against self-incrimination by not contesting the civil forfeiture is

20   meritless.   A defendant does not risk incriminating himself by

21   claiming that he owns property that is subject to forfeiture”)

22

23        7 E.E.O.C. v. ABM Indus. Inc., 249 F.R.D. 588, 593-94 (E.D. Cal.
     2008 (anonymity permitted where disclosure would identify plaintiffs
24   as victims of sex crimes and plaintiffs had fear of severe physical
     harm); Doe v. City of Simi Valley, 2012 WL 12507598 (C.D. Cal. Oct.
25   29, 2012) (court permitted registered sex offenders and their spouses
     to challenge via a TRO the constitutionality on its face of an
26   ordinance that made it a misdemeanor for the sex offenders to sell
     candy at their residences on Halloween); Free Speech v. Reno, 1999 WL
27   47310, *1 (S.D.N.Y. Feb. 1, 1999) (same, and involving challenge that
     FCC licensing regulations were overbroad and impermissible prior
28   restraints on free speech); Publius v. Boyer-Vine, 321 F.R.D. 358
     (E.D. Cal. 2017) (same).
                                        9
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1    (citation omitted); United States v. Cretacci, 62 F.3d 307, 311 (9th

2    Cir. 1995) (noting same in dicta: “a defendant does not risk

3    incriminating himself by claiming that he owns property that is

4    subject to forfeiture”).

5          Further, plaintiff’s argument that submitting a claim requires

6    him to pit one constitutional right against another is untrue because

7    plaintiff can move in any future criminal case to preclude the

8    government from using the claim as evidence in that case.         In

9    addition, claimants in civil forfeiture actions can assert claims
10   based not just on an ownership interest in property but also based on
11   a possessory interest, coupled with an explanation, in property
12   (United States v. $100,348.00 in U.S. Currency, 354 F.3d 1110, 1119
13   (9th Cir. 2004)), so plaintiff’s assertion ignores the decision that

14   asset forfeiture claimants have to make in every single asset

15   forfeiture case.

16   IV.   CONCLUSION.

17         For the foregoing reasons, the government respectfully renews

18   its request that its motion be granted and plaintiff’s complaint be

19   dismissed without leave to amend.

20   Dated: June 22, 2021             Respectfully submitted,

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